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UNITED STATES BANKRUPTCY COURT
EASTERN DlSTR|CT OF NEW YORK

 

 

X CHAPTER 13
lN RE$ CASE NO.: 17-71003~ast
SARBJlT KAUR
DEBTOR(S).
X
CHAFTER 13 PLAN Revised12/19/17

 

EB‘ Check this box if this is an amended plan. List below the sections of the plan which have been
changed: 2~1'9~1

 

PART 1: NOT|CES

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form
does not indicate that the option is appropriate in your circumstance or that it is permissible in yourjudicial district. Plans
that do not comply with the local rules for the Eastern District of New York may not be confirmable. if you do not have an
attorney, you may wish to consult one.

To Creditors: Your rights may be affected by this plan, Your claim may be reduced, moclified, or eliminated You should
read this plan carefully and discuss it with your attorney. lf you do not have an attorney, you may wish to consult one.

|f you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection
to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
Banl<ruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is
filed. See Bankruptcy Rule 3015. ln addition, you may need to file a timely proof of claim in order to be paid under any
plan.

1.1: 'l'he following matters may be of particular importance Debtors must check one box on each line to state
whether or not the plan includes each of the following items. if on item is checked as ”Not lncluded” or if
both or neither boxes are checked, the provision Will be ineffective if set out later in the plan.

 

a. A limit on the amount of a secured claim, set out in Section 3.4, which may result in n included al Not included
a partial payment or no payment at all to the secured creditor

 

b. Avoidance of a judicial lien or nonpossessory, non-purchase-money security interest, l;l lncluded a Not included
sat out in Section 3.6

 

 

 

 

c. Nonstandard provisions, set out in Part 9 m lncluded n Not lncluded

 

 

 

1.2: The following matters are for informational purposes.

 

a. The debtor(s) is seeking to modify a mortgage secured by the debtor(s)'s principal n included m Not included
residenca, set out in Section 3.3

 

b. Unsecured Creclitors, set out in Part 5, will receive 100% distribution of their timely filed m included n Not included
claim

 

 

 

 

 

 

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PART 2: FLAN PAYMENTS AND LENGTH OF PLAN

2.1: The post-petition earnings of the debtor(s) are submitted to the supervision and control of the Trustee
and the Debtor(s) shall pay to the Trustee for a period of 60 months as follows:

 

$1000~00 per month commencing Ma'°h 2017 through and including J"'Y 2017 for a period of 5
months; and

$ '00 per month commencing A"g"$‘ 2017 through and including September2017for a period of 2
months.

a Continued on attached separate page(s).

2.2: income tax refunds.

lf general unsecured creditors are paid less than 100%, in addition to the regular monthly payments, during the
pendency of this case, the Debtor(s) will provide the Trustee with signed copies of filed federal and state tax
returns for each year commencing with the tax year , no later than April 15‘*‘ of the year following the
tax period indicated tax refunds are to be paid to the Trustee upon receipt, however, no later than lune 15“‘
of the year in which the tax returns are filed.

2.3: Additiona| payments.

Checl< one.
il None. if "None” is checked, the rest of §2.3 need not be completed
121 Debtor(s) will make additional payment(s) to the Trustee from other sources, as specified below.
Describe the source, estimated amount, and date of each anticipated payment.

 

 

PART 3: TREATN|ENT OF SECURED CLAlMS

3.1: Maintenance of payments (including the debtor(s)'s principal residence).

Check one.

ill None. If ”None” is checked, the rest of§3.l need not be completed

121 Debtor(s) will maintain the current contractual installment payments on the secured claims listed
below, with any changes required by the applicable contract and noticed in conformity with any
applicable rules. These payments will be disbursed directly by the debtor(s).

 

 

    

` ” ““EEE“FBM”W§T“EEWBWFEE?
Nassau County Treasurer 0001
New Hyde Park NY

 

 

 

 

 

 

 

 

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3.2: Cure of default (including the debtor(s)’s principal residence).

Checl< one.

El None. if ”None” is checked the rest of §3.2 need not be completed

El Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with
interest, if any, at the rate stated below. Unless otherwise ordered by the court, the amounts listed on
a proof of claim filed before the filing deadline under Banl<ruptcy Rule 3002(c) control over any
contrary amounts listed below. ln the absence of a contrary timely filed proof of claim, the amounts
listed below are controlling

 

 

 

 

 

 

 

 

 

m Continued on attached separate page(s).

3.3: Modification of a mortgage secured by the debtor(s)’s principal residence.
Check one.
iii The debtor(s) is not seeking to modify a mortgage secured by the debto\’s principal residence.
El The debtor(s) is seeking to modify a mortgage secured by the debtor(s)'s principal residence.
Complete paragraph below.
l.°.l if applicable, the debtor(s) will be requesting loss mitigation pursuant to General Order #582.

The mortgage due to (creditor name) on the property known as

under account number ending (last four digits of account number) is in default.
All arrears, including all past due payments, late charges, escrow deficiency, legal fees and other expenses due
to the mortgagee totaling $ , may be capitalized pursuant to a loan modification. The new principal
balance, including capitalized arrears will be$ , and will be paid at ____% interest amortized over

years with an estimated monthly payment of$ including interest and escrow of

$ . The estimated monthly payment shall be paid directly to the trustee while loss mitigation is
pending and until such time as the debtor(s) has commenced payment under a trial loan modification
Contemporaneous with the commencement of a trial loan modification, the debtor(s) will amend the Chapter
13 Plan and Schedule l to reflect the terms of the trial agreement, including the direct payment to the secured
creditor going forward by the debtor(s).

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3.4: Request for valuation of security, payment of fully secured claims, and modification of
under~secured ciaims. ,

Check one.
None. /f ”None” is checked the rest of §3.4 need not be completed

The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
checked

ill The debtor(s) shall file a motion to determine the value of the secured claims listed below. Such claim
shall be paid pursuant to order of the court upon determination of such motion.

 

m Continued on attached separate page(s).

3.5: Secured claims on personal property excluded from 11 U.S.C. §506.

Check one.
Kl None. lf ”None” is checked the rest of §3.5 need not be completed

l:i The claims listed below were either:
o incurred within 910 days before the petition date and secured by a purchase money security

interest in a motor vehicle acquired for the personal use of the debtor(s); or
o incurred within 1 year of the petition date and secured by a purchase money security interest
in any other thing of value.
These claims will be paid pursuant to §3.1 and/or §3.2. (The claims must be referenced in those
sections as well.) Uniess otherwise ordered by the court, the claim amount stated on a proof of claim
filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed
below. ln the absence of a contrary timely filed proof of claim, the amounts stated below are

controlling

 

 

 

 

 

 

 

 

 

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3.6: Lien avoidance.

Check one.
El None. lf ”None" is checked, the rest of §3.6 need not be completed

The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
checked.

Cl The debtor(s) shall file a motion to avoid the followingjudicial liens or nonpossessory, non-purchase
money security interests as the claims listed below impair exemptions to which the debtor(s) are
entitled under 11 U.S.C. §SZZ(b) or applicable state law. See 11 U.S.C. §SZZ(f) and Bankruptcy Rule
4003(d). Such claim shall be paid pursuant to order of the court upon determination of such motion.

    

 

 

 

 

 

 

 

 

 

 

 

 

n Continued on attached separate page(s).

3.7: Surrender of collateral

Check one.

El None. lf ”None” is checked, the rest of §3.7 need not be completed

Cl The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor's
claim, The debtor(s) request that upon confirmation of this plan the stay under 11 U.S.C. §352(a) be
terminated as to the collateral only and that the stay under 11 U.S.C. §1301 be terminated Any timely
filed allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5

below.

 

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PART 4: TREATMENT OF FEES AND PRICRlTY CLAlNlS

4.1: General.

Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated
in §4.5, will be paid in full without post-petition interest

4.2: Trustee’s fees.

Trustee’s fees are governed by statute and may change during the course of the case.

4.3: Attorney’s fees.

The balance of the fees owed to the attorney for the debtor(s) is $ 5°°°'°0

4.4: Priority claims other than attorney’s fees and those treated in §4.5.

Check One,
l?§l None. lf ”None” is checked the rest of §4,4 need not be completed
ill The debtor(s) intend to pay the following priority claims through the plan:

 

 

 

 

 

 

 

m Continued on attached separate page(s).

4.5: Domestic support obligations.

Check One.
1311 None. if ”None” is checked the rest of §4.5 need not be completed
C] The debtor(s) has a domestic support obligation and is current with this obligation. Comp/ete table
below; do not fill in arrears amount
ill The debtor(s) has a domestic support obligation that is not current and will be paying arrears through
th Plan Complete table below
Da

 

 

 

 

 

 

 

 

 

 

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PART S: TREATMENT OF NONPRlORlTY UNSECURED CLA|MS
Allowed nonpriority unsecured claims will be paid pro rata:

Cl Not less than the sum of 5
l§.l Not less than 100 % of the total amount of these claims.
l.'.l From the funds remaining after disbursement have been made to all other creditors provided for in
this plan.
lf more than one option is checked, the option providing the largest payment will be effective.

PART 6: EXECUTORY CONTRACTS AND UNEXP|RED LEASES

6.1: The executory contracts and unexpired leases listed below are assumed and will be treated as
specified. All other executory contracts and unexpired leases are rejected

Check one.
Cl None. lf ”None” is checked the rest of §6.1 need not be completed
Assumed items. Current installment payments will be paid directly by the debtor(s) as specified
beiow, subject to any contrary court order or rule. Arrearage payments will be disbursed by the

'iIl'UStEE.

 

PART 7: VEST|NG OF PROPERTY OF THE ESTATE

Unless otherwise provided in the Order of Confirmation, property of the estate will vest in the
debtor(s) upon completion of the plan.

PART 8: POST-PETlTlON OBLlGATlONS

8.1: Post-petition mortgage payments, vehicle payments, real estate taxes, and domestic support
obligations are to be made directly by the debtor(s) unless otherwise provided for in the plan.

8.2: Throughout the term of this P|an, the debtor(s) will not incur post-petition debt over $Z,SOD.OO
without written consent of the Trustee or by order of the Court.

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PART 9: NONSTANDARD PLAN PROV|S|ONS
9.1: Check “None" or list nonstandard plan provisions.
Cl None. lf ”None" is checked the rest of§9.1 need not be completed

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
provision not otherwise included in the form plan or deviating from it. Nonstandard provisions set out
elsewhere in this plan are ineffective

The following plan provisions will be effective only if there is a check in the box "included" in §1.1(c).
See Addendum annexed hereto

 

 

 

 

PART 10: CERTlFlCAT|ON AND SlGNATURE(Sl:

10.1: l/we do hereby certify that this plan does not contain any nonstandard provisions other than
those set out in the final paragraph

s/Sarbjit Kaur

 

 

Signature of Debtor 1 Signature of Debtor 2

6/22/2018
Dated: Dated:

s/Richard S. Feinsilver

 

Signature of Attorney for Debtor(s)

6/22/2018
Dated:

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Debtor: Sarbjit Kaur
Case Number: 17-71003~ast
Addendum to Chapter 13 Plan

Section 2.1 - Plan Payrnents

$1,500.00 PER MONTH COMMENCING OCTOBER 2017 THROUGH AND INCLUDING
APRIL 2018 FOR A PERIOD OF 7 MONTHS;

$2,250.00 lN MAY 2018 FOR A PERIOD OF 1 MONTH;

$60,000.0011\1 JUNE 20l8 FOR A PERIOD OF 1 MONTH;

$0. 00 PER MONTH COMMENCING JULY 2018 THROUGH AND INCLUDING AUGUST
2018 FOR A PERIOD OF 2 MONTHS;

81,520.00 PER M()NTH COMMENCING SEPTEMBER 2018 THRGUGH AND INCLUDING
FEBRUARY 2022 FOR A PERIOD OF 42 MONTHS.

Section 9 ~ Other Terms

Debtor is the personal guarantor of the a certain promissory note given by Cheema Trans. Corp.,
the owner of record of NYC Taxi Medallions 9P35 and 9P36, to First Jersey Credit Union. The
payment of the corporate obligations of this entity to this creditor were current at the time of
filing Pursuant to the terms of the Stipulation and Order Settling the Allowed Claim of Creditor
First Jersey Credit Union (ECF Doc #31), the claim of First .lersey has been set at 8118,700.00.
Debtor shall pay First Jersey $118,700.00 as a general unsecured claim7 Without interest, plus
trustee’s fees and commissions Further, the Individual Debtor shall not remit any post petition
payments to this creditor

